    Case: 3:25-cr-00013-MJN Doc #: 14 Filed: 02/24/25 Page: 1 of 1 PAGEID #: 27




                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,                        :
                                                 :        Case No. 3:25-cr-13
                   Plaintiff,                    :
                                                 :        District Judge Michael J. Newman
                       v.                        :
                                                 :
GUSTAVO RODRIGUEZ-PIEDRA,                        :
                                                 :
                  Defendant.                     :


                  JOINT MOTION FOR CHANGE OF PLEA HEARING


       Plaintiff, United States of America, and defendant, Gustavo Rodriguez-Piedra, through

counsel, jointly move this Court to set a change of plea hearing in the above-captioned case. The

parties have reached a resolution in this case and therefore requests that the Court set a plea date

at its convenience.


JOSEPH MEDICI                                        KELLY A. NORRIS
Federal Public Defender                              Acting United States Attorney

s/ F. Arthur Mullins                                 s/ Erica D. Lunderman_______
F. Arthur Mullins                                    Erica D. Lunderman
Office of the Federal Public Defender                Assistant United States Attorney
1 South Main Street, Suite 490                       200 West Second Street, Suite 600
Dayton, Ohio 45402                                   Dayton, Ohio 45402
(937) 225-7687                                       937-225-2910




                                                 1
